               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        SOUTHERN DIVISION
                        No. 7:13-CR-57-1H
                        No. 7:16-CV-364-H

STEPHEN EDWARD ROSS,                )
     Petitioner,                    )
                                    )
     v.                             )
                                                       ORDER
                                    )
UNITED STATES OF AMERICA,           )
     Respondent.                    )


     This matter is before the court on petitioner’s motion for

relief pursuant to Fed. R. Civ. P. 60(b) [DE #74].        The government

has not responded, and the time for filing has expired.              This

matter is ripe for adjudication.

                              BACKGROUND

     On November 12, 2013, petitioner pled guilty, pursuant to a

written memorandum of plea agreement, to using, carrying, and

discharging a firearm during and in relation to a drug trafficking

crime, in violation of 18 U.S.C. § 924(c)(1)(A)(iii) (Count Two).

On June 10, 2014, the court sentenced petitioner to a total term

of imprisonment of 120 months.       [DE #49].     Petitioner appealed,

and the Fourth Circuit Court of Appeals affirmed on March 12, 2015.

[DE #59 and #60].       Petitioner filed a petition for writ of

certiorari which was denied by the Supreme Court of the United

States on January 11, 2016.    [DE #62 at 2]; Ross v. United States,




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Case No. 14-4509 ECF #39, (4th Cir.), cert. denied, No. 15-181

(Jan. 11, 2016).

     On October 24, 2016, petitioner filed a motion to vacate

pursuant to 28 U.S.C. § 2255, [DE #62], arguing that counsel

rendered ineffective assistance by failing to file a motion to

suppress, [DE #62], and that counsel had rendered ineffective

assistance regarding the entry of his plea, his guidelines, and

his appeal.     [DE #69].    On January 7, 2019, this court dismissed

petitioner’s § 2255 as untimely.          Petitioner did not appeal this

dismissal.     On June 27, 2019, petitioner filed the instant motion

pursuant to Fed. R. Civ. P. 60(b).

                            COURT’S DISCUSSION

     Federal Rule of Civil Procedure 60(b) is an extraordinary

remedy that permits a court to “relieve a party … from a final

judgment, order, or proceeding.”          Fed. R. Civ. P. 60(b).          See

Mayfield v. Nat'l Ass'n for Stock Car Auto Racing, Inc., 674 F.3d

369, 378 (4th Cir. 2012) (citing Ackermann v. United States, 340

U.S. 193, 202 (1950)).          To do so, a party must demonstrate

“exceptional circumstances” warrant granting the relief.                Dowell

v. State Farm Fire & Cas. Auto. Ins. Co., 993 F.2d 46, 48 (4th

Cir. 1993) (quoting Werner v. Carbo, 731 F.2d 204, 207 (4th Cir.

1984)).    Additionally, the party seeking relief under Rule 60(b)

“must make a threshold showing of timeliness, ‘a meritorious claim

or defense,’ and lack of unfair prejudice to the opposing party.”

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Coleman v. Jabe, 633 F. App'x 119, 120 (4th Cir. 2016) (quoting

Aikens v. Ingram, 652 F.3d 496, 501 (4th Cir. 2011)).               After a

party satisfies this threshold showing, “he must proceed to

satisfy one or more of the rule’s six grounds for relief from

judgment.”       Werner, 731 F.2d at 207.      The six specific sections

of Rule 60(b) are:

     (1)   mistake, inadvertence, surprise, or      excusable
     neglect; (2)    newly discovered evidence that, with
     reasonable diligence, could not have been discovered in
     time to move for a new trial under Rule 59(b); (3) fraud
     (whether previously called intrinsic or extrinsic),
     misrepresentation, or misconduct by an opposing party;
     (4) the judgment is void; (5) the judgment has been
     satisfied, released, or discharged; it is based on an
     earlier judgment that has been reversed or vacated; or
     applying it prospectively is no longer equitable; or (6)
     any other reason that justifies relief.


Fed. R. Civ. P. 60(b)(1)-(6).

     Petitioner claims that Rule 60(b) provides him with relief from

the court’s dismissal of his Section 2255 Motion.          Petitioner timely

filed his Rule 60(b) motion on June 27, 2019, within one year of the

judgment at issue entered on January 7, 2019.         Fed. R. Civ. P. 60(c).

He has made a meritorious claim that his § 2255 motion was indeed

timely pursuant to 28 U.S.C. § 2255(f)(1) as he filed within one

year of the denial of his petition for a writ of certiorari.

However, the court notes the filing of the petition for writ of

certiorari and the denial of the petition were not entered on the

docket at the time of the § 2255 order.             The government moved to

dismiss    the    §   2255   as   untimely,   and    the   court   dismissed
                                      3

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petitioner’s § 2255 motion for untimeliness.               There is no unfair

prejudice to the government as to the relieving of the petitioner

from this judgment that was dismissed as untimely.

       However, as Rule 60(b) should be afforded relief only in

“extraordinary      circumstances,”      petitioner     has     not   shown   such

circumstances in this case.             Dowell, 993 F.2d at 48 (quoting

Werner, 731 F.2d at 207).         Petitioner did not file an appeal of

the § 2255 and therefore has not shown extraordinary circumstances.

“In cases where the petitioner freely chooses not to appeal the

district court's original judgment, this court has consistently

held   that   the   petitioner    had       not   demonstrated    extraordinary

circumstances.”      Aikens v. Ingram, 652 F.3d 496, 502 (4th Cir.

2011) (citing Dowell, 993 F.2d at 48; In re Burnly, 988 F.2d 1, 3

(4th Cir. 1992); and cf. Hall v. Warden, 364 F.2d 495, 496 (4th

Cir. 1966)).

       Therefore,    as   petitioner        has   not   shown    “extraordinary

circumstances,” his motion for relief, [DE #74], is hereby DENIED 1.

       This 12th day of January 2021.



                              __________________________________
                              MALCOLM J. HOWARD
                              Senior United States District Judge
At Greenville, NC
#35

1 Additionally, even if the court were to relieve petitioner from the judgment

of the § 2255 and consider the merits of this filing, plaintiff has not alleged
a plausible claim of ineffective assistance of counsel.


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